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 6                                  UNITED STATES DISTRICT COURT
 7                                          DISTRICT OF NEVADA
 8   ROBERT M. ROSS,                           )
                                               )
 9                                 Plaintiff,  )                  Case No. 2:07-cv-00873-KJD-GWF
                                               )
10   vs.                                       )                  ORDER
                                               )
11   STEPHEN BROWN, et al.,                    )                  Application to Employ
                                               )                  Auctioneer (#106)
12                                 Defendants. )
     __________________________________________)
13
14          This matter comes before the Court on Plaintiff Robert Ross’ (“Plaintiff”) Application to
15   Employ Auctioneer (#104), filed on November 13, 2012. Responses to the instant motion were due
16   November 30, 2012.
17           Plaintiff represents the Central District of California entered a judgment against Defendants in
18   favor of Plaintiff on April 25, 2007, which was registered in the District of Nevada on June 6, 2012.
19   The Clerk of this Court issued a Writ of Execution on September 20, 2012. See Doc. #106 Exh. 1. The
20   amount due on the date of the Writ’s issuance was $842,317.25. “Any personalty sold under any order
21   decree of any court” shall be sold in accordance with 28 U.S.C. § 2001, “unless the court orders
22   otherwise.” Plaintiff now moves the Court to permit the sale by auction of personal property (see Doc.
23   #106 Exh. 2) seized from Defendants by the U.S. Marshals to satisfy the above-described judgment.
24   Plaintiff desires to employ Dan Watson, a licensed auctioneer, to conduct the sale for a commission of
25   thirty percent of the net proceeds.
26          Under Local Rule 7-2(d), the failure of an opposing party to file points and authorities in
27   response to any motion shall constitute a consent to the granting of the motion. To date, no response to
28   the instant motion has been filed, and the time to file a response has expired. Furthermore, Plaintiff
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 1   establishes good cause for the granting of the motion. Accordingly,
 2            IT IS HEREBY ORDERED that Plaintiff’s Application to Employ Dan Watson, as
 3   Auctioneer, Pay Commission and Motion to Sell Personal Property at Public Auction Pursuant to 28
 4   U.S.C. § 2004 (#106) is granted. Plaintiff shall be permitted to employ Dan Watson as auctioneer, and
 5   sell at auction the personal property listed in Exhibit 2 of the instant motion.
 6            IT IS FURTHER ORDERED that the sale be conducted at 2245 N. Nellis, Las Vegas, Nevada
 7   89115.
 8            IT IS FURTHER ORDERED that Plaintiff may conduct more than one auction if necessary to
 9   liquidate all personal property listed in Exhibit 2 to the instant motion. Plaintiff shall inform the Court
10   if more than one auction will be required.
11            IT IS FURTHER ORDERED that a status of the sale be filed with the Court no later than
12   sixty days after the completion of all auctions.
13            DATED this 11th day of December, 2012.
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15                                                  ______________________________________
                                                    GEORGE FOLEY, JR.
16                                                  United States Magistrate Judge
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